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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                             FORT WAYNE DIVISION

MARTIN L. HEIFNER,                                   )
    Plaintiff,                                       )
                                                     )      Case No.: ____________________
       v.                                            )
                                                     )
UNITED STATES OF AMERICA,                            )
     Defendant.                                      )

                     COMPLAINT FOR DAMAGES IN A CIVIL CASE

       Plaintiff, Martin L. Heifner (“Heifner”) by counsel, Sweeney Law Firm, brings this action

against the Defendant, United States of America, and for his Complaint alleges and says as follows:

                                            PARTIES

       1.      Heifner is a citizen of Grover Hill, Ohio.

       2.      The Defendant is the United States of America. At all times relevant hereto, the

United States acted through its agency, the Department of Veterans Affairs (“VA”), its

subdivision, the Veterans Health Administration (“VHA”), and the employees of those agencies.

       3.      At all times relevant hereto, the Defendant employed a podiatrist, Dr. Bradley R.

Hammersley (“Dr. Hammersley”), to provide podiatric medical care and treatment at the Veterans

Administration Northern Indiana Health Care System (“VANIHCS”) in Fort Wayne, Indiana and

Marion, Indiana.

       4.      At all times relevant hereto, Dr. Hammersley was acting within the scope and

course of his employment with the Defendant.

                                JURISDICTION AND VENUE

       5.      Because the United States is the Defendant in this case, this Court has jurisdiction

under 28 U.S.C. §1346.
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        6.          The United States has waived its sovereign immunity pursuant to 5 U.S.C. §702.

        7.          At all times relevant hereto, Dr. Hammersley was acting within the scope and

course of his employment with the Defendant and was an “employee of the government” as defined

by 28 U.S.C. §2671.

        8.          Because Dr. Hammersley was acting within the scope and course of his

employment as an “employee of the government” at all times relevant hereto, the Defendant is not

entitled to the “Independent Contractor Exception,” pursuant to Edison v. United States, 822 F.3d

510, 2016.

        9.          Because Dr. Hammersley was an “employee of the government” at all times

relevant hereto, the Defendant is not entitled to dismissal for lack of subject-matter jurisdiction

pursuant to Fed. R. Civ. P. 12(b)(1).

        10.         Pursuant to 28 U.S.C. §1391(e)(1), venue is proper within the Northern District of

Indiana Fort Wayne Division because the events or omissions giving rise to this action occurred

in this District.

        11.         Plaintiff has exhausted his administrative remedies pursuant to 28 U.S.C. §2675(a).

        12.         Pursuant to 28 U.S.C. §2675(a), Plaintiff submitted a Standard Form 95 (“SF95”)

to the Veterans Administration on March 14, 2018 detailing his claim against the Defendant.

        13.         On July 30, 2018 the VA sent Plaintiff a letter indicating that his claim was denied

because the “tort claim is barred unless it is presented within two years after the claim accrues, as

provided in section 2401(b), title 28, United States Code (U.S.C.).”

        14.         Pursuant to 28 U.S.C. §2401(b), Plaintiff files this action “within six months after

the date of mailing, by certified or registered mail, of notice of final denial of the claim by the

agency to which it was presented.”
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        15.    Plaintiff first learned that the care provided to him by Dr. Hammersley was

malpractice when he met with VA administrators on February 22, 2018.

        16.    Plaintiff could not have learned that the acts and/or omissions by Dr. Hammersley

were malpractice until he met with the VA administrators on February 22, 2018.

        17.    There is a class-action lawsuit (Colombini et al. v. United States) pending before

this Court to determine whether plaintiffs similarly situated with Heifner can move forward with

their malpractice claims.

        18.    Heifner currently is a plaintiff in the aforementioned class-action suit.

        19.    Since Plaintiff is a member of the aforementioned class-action suit, Plaintiff

respectfully requests that this action be continued until the superseding action has been resolved.

        20.    All conditions precedent to the filing of this action have occurred, been waived, or

have otherwise been satisfied.

                                   STATEMENT OF CLAIM

        21.    Heifner presented to Dr. Hammersley on January 22, 2014 for severe pain in his

left leg.

        22.    According to the Institutional Disclosure of Adverse Event (“Disclosure”) from the

VA dated March 5, 2018, attached hereto as Exhibit 1, an MRI showed a lesion and bruise of the

soleus medial head of the gastrocnemius.

        23.    Dr. Hammersley diagnosed Heifner with ruptured muscle with neoplasm of

uncertain behavior at medial head of gastric, which according to the Disclosure, the MRI did not

support this diagnosis.

        24.    On June 17, 2014, Dr. Hammersley performed surgery on Heifner’s left leg,

focusing on the medial gastrocnemius muscle instead of the lateral soleus where the mass was
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located. Additionally, Dr. Hammersley used Fiber wire in the muscle, which, according to the

Disclosure, is not the correct suture to be used. Further, the surgery report does not show that

Heifner’s Achilles tendon was repaired. Despite the surgery performed by Dr. Hammersley,

Heifner continued to have pain.

        25.     According to the Disclosure, Dr. Hammersley failed to properly diagnose and treat

the injury to Heifner’s left leg.

        26.     Dr. Hammersley committed malpractice by failing to properly diagnose and treat

the pain in Heifner’s left leg.

        27.     On February 22, 2018, Plaintiff was notified by VA administrators that Plaintiff

was the victim of malpractice at the hands of Dr. Hammersley and that Plaintiff had the right to

file a claim against the VA.

        28.     In the March 5, 2018 Disclosure, the VA admitted that Dr. Hammersley committed

malpractice in connection with his care and treatment of Plaintiff.

        29.     As a direct and proximate result of the Defendant’s negligence, Heifner has left leg

and foot numbness and pain.

        30.     As a direct and proximate result of the Defendant’s negligence, Heifner has

experienced a loss in quality and enjoyment of life.

        31.     Plaintiff is seeking the applicable elements/categories of damages as set forth in

Indiana Model Civil Jury Instructions (“IMCJI”) 703.

                                    PRAYER FOR RELIEF

        Wherefore, Plaintiff prays for judgment against the Defendant and respectfully requests

compensatory damages that are commensurate with the harm suffered by Heifner and for all losses,

injuries and damages, including the costs of this action and for all other just and proper relief in
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these premises. Plaintiff also requests an order continuing any further proceedings in this case

until the aforementioned, superseding class-action suit is decided.

       Pursuant to 28 U.S.C. §2675(b), Plaintiff seeks damages equal to the amount that Plaintiff

presented to the VA in his SF95. If any newly discovered evidence not reasonably discoverable

at that time of the filing of the SF95 is discovered, Plaintiff reserves the right to claim damages in

excess of the damages sought in the SF95.

                              CERTIFICATION AND CLOSING

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or

reversing existing law; (3) the factual contention have evidentiary support or, if specifically so

identified, will likely have evidentiary support after a reasonable opportunity for further

investigation or discovery; and (4) the complaint otherwise complies with the requirements of Rule

11.

                                       Respectfully submitted this 22nd day of January, 2019,

                                               “/s/” David L. Farnbauch
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